        Case 1:17-cv-02989-AT Document 1147 Filed 08/10/21 Page 1 of 10




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, et al.

        Plaintiffs,
                                               CIVIL ACTION
        v.
                                               FILE NO. 1:17-CV-2989-AT
    BRAD RAFFENSPERGER, et al.,

        Defendants.


    STATE DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

        In further support of State Defendants’ recent briefing on Plaintiffs’

lack of Article III standing in this case, [Docs. 1066, 1094, 1105, 1117], State

Defendants respectfully submit the attached opinion of the Eleventh Circuit

Court of Appeals in which the Court determined that Plaintiff L. Lin Wood,

Jr., lacked standing to pursue his claims regarding use of Georgia’s Dominion

BMD System and absentee ballot procedures for the January 2021 Runoff

Election. Wood v. Raffensperger, Case No. 20-14813 (11th Cir. Aug. 6, 2021),

aff’g No. 1:20-cv-5155-TCB, 2020 WL 7706833 (N.D. Ga. Dec. 28, 2020) [Wood

II]. 1 The Eleventh Circuit Opinion is attached as Exhibit A.



1 This case is separate from Wood’s prior suit and appeal, Wood v.
Raffensperger, 501 F. Supp. 3d 1310 (N.D. Ga. 2020) aff’d 981 F.3d 1307
(11th Cir. 2020) [Wood I].
       Case 1:17-cv-02989-AT Document 1147 Filed 08/10/21 Page 2 of 10




      In Wood II, the plaintiff alleged that the State Election Board’s

promulgation of absentee-ballot “rules—together with the use of Dominion

voting machines—violate[d] his rights to equal protection (Count I), due

process (Count II), and a republican form of government (Count III).” Wood

II, 2020 WL 7706833 at *1. The Eleventh Circuit summarized Wood’s legal

theories: that the absentee ballot procedures and use of the Dominion BMD

System “violated his equal protection and voting rights, as he said he planned

to vote in person in the election, and these procedures would dilute his vote

and cause his vote to be treated differently [… ,] violated his due process

rights because the procedures were ‘defective and unlawful’ and affected the

‘integrity of the election,’” and violated the Guarantee Clause of the United

States Constitution. Ex. A. at 2–3. 2

      Acutely relevant here, Wood alleged the Dominion machines used in

Georgia were “unreliable, compromised, problematic, and subject to outside

manipulation of voting results.” Wood II, No. 1:20-cv-5155-TCB (N.D. Ga.),

ECF No. 1 at 19 (¶ 55). Wood went on to cite Dr. Appel’s (Curling Plaintiffs’

expert’s) observation on his ability to install vote-flipping malware, id. at 22

(¶ 61), and hand-marked paper ballot activist Garland Favorito’s conclusion


2Page number references are to those generated by the Eleventh Circuit’s
CM/ECF filing system.
                                        2
       Case 1:17-cv-02989-AT Document 1147 Filed 08/10/21 Page 3 of 10




that it was more-likely-than-not that “vote-swapping malware” existed on

Georgia election management servers, id. at 23 (¶ 64). Wood further relied

upon this Court’s conclusions in its October 11, 2020 Scanner Order:

            66. Notably, The Honorable District Court Judge Amy
            Totenberg issued a 174-page detailed order on October
            11, 2020 that foreshadowed the dangers presented by
            Georgia’s use of [the Dominion BMD System].
            Particularly, she observed that “the substantial risks
            posed by Georgia’s BMD system, at least as currently
            configured and implemented, are evident.” [ ]. Judge
            Totenberg went on to observe that her “Order has
            delved deep into the true risks posed by the new BMD
            voting system as well as its manner of implantation
            [sic]. These risks are neither hypothetical nor
            remote under the current circumstances.”

            67. Adopting the Plaintiff’s cyber security expert’s
            testimony, Judge Totenberg observed that “this is not
            a question of ‘might this actually ever happen?’ – but
            ‘when it will happen,’ especially if further protective
            measures are not taken. Given the masking nature of
            malware and the current systems described here, if
            the State and Dominion simply stand by and say, ‘we
            have never seen it,’ the future does not bode well.”

Id. at 24 (¶¶ 66–67) (emphasis added in original) (quoting Curling v.

Raffensperger, 493 F. Supp. 3d 1264, 1312 & 1341–42 (N.D. Ga. 2020)). 3



3 Wood also filed numerous affidavits and exhibits Plaintiffs previously filed
in this case to support his claims. See, e.g., Wood II, No. 1:20-cv-5155-TCB
(N.D. Ga.), ECF Nos. 2-9 (Appel, DeMillo & Stark, Ballot-Marking Devices
(BMDs) Cannot Assure the Will of the Voters (Dec. 27, 2019)), 2-10 (Stark
August 2020 Declaration), 2-11 (Halderman December 2019 Declaration).
                                       3
       Case 1:17-cv-02989-AT Document 1147 Filed 08/10/21 Page 4 of 10




      The Court focused its inquiry on the “particularized-injury

requirement” to establish an injury in fact under Article III. “A particularized

injury is one that affects the plaintiff in a personal and individual way.” Id. at

4 (quoting Wood I, 981 F.3d at 1314). “That means the plaintiff must show

more than a generalized grievance that is ‘undifferentiated and common to

all members of the public.’” Id. at 4–5 (quoting Wood I, 981 F.3d at 1314)

(quotation marks omitted in original). Employing this analysis—which the

Court has used repeatedly in recent election suits—the Court held that

“Wood lacked Article III Standing to bring each of his three claims,” Id. at 6,

because he failed to “explain how his particular in-person vote, as opposed to

all in-person votes more generally, was diluted or disvalued.” Id. at 6

(emphasis in original).

      Like Plaintiffs here, Wood attempted to support his standing for his

equal-protection claim by arguing that “the challenged procedures diluted in-

person votes and valued in-person votes less than absentee votes.” Id. The

Court held, however, that Wood failed “to show the procedures ‘specifically

disadvantaged’ his vote rather than impacting the proportional effect of every

vote,” and on disparate treatment or valuing absentee votes over in-person

votes, he similarly failed to show harm that “affect[ed] Wood as an

individual.” Id. (citing Wood I, 981 F.3d at 1314–15). Instead, Wood’s asserted
                                        4
       Case 1:17-cv-02989-AT Document 1147 Filed 08/10/21 Page 5 of 10




injuries were “shared identically by all Georgians who voted in person,” and

his allegations were “nothing more than a textbook generalized grievance

that is insufficient for Article III standing.” Id. Nor was Wood’s argument

that the procedures were unlawful, illegal, and unconstitutional persuasive,

because an injury to Wood’s “right that the government be administered

according to the law is likewise an insufficient generalized grievance.” Id. at

6–7. (citing Wood I, 981 F.3d at 1314 and Lance v. Coffman, 549 U.S. 437,

439–442 (2007)).

      The Court also found Wood lacked standing for his due process

claims—addressing them though the Court held they were abandoned—

because they similarly were generalized grievances. The Court noted that

Wood’s theory of standing here was rooted in allegations that “the procedures

were ‘defective and unlawful’ and affected the ‘integrity of the election.’” Id.

at 7. Again, the Court noted, “this grievance is common to all members of the

public, so it is not particularized and thus not enough for Article III

standing.” Id. at 7 (citing Wood I, 981 F.3d at 1314 and Dillard v. Chilton

Cnty. Comm’n, 495 F.3d 1324, 1333 (11th Cir. 2007) (per curiam)). Finally,

the Court held that “Wood’s Guarantee Clause claim fails for the same

reason.” Id. at 8.



                                        5
       Case 1:17-cv-02989-AT Document 1147 Filed 08/10/21 Page 6 of 10




      The theories of injury for which Wood sought redress are strikingly

similar to those the Plaintiffs press here. Wood alleged that his vote in the

2021 Runoff would be diluted and disparately treated, arguing that the use of

the Dominion BMD System, together with absentee ballot procedures,

resulted in his vote being diluted by “unlawful or invalid ballots” and

elevated absentee voters to a “favored or preferred class of voters.” Wood II,

2020 WL 7706833 at *3-4. Likewise, Plaintiffs here assert that:

         • Defendants, through use of the Dominion BMD System, fail “to

            ensure that all properly cast votes are counted and that votes

            improperly cast are not counted[.]” [Doc. 627 at 36 (¶ 116(b))]

            (Curling Plaintiffs’ Third Amended Complaint);

         • Absentee paper-ballot voters and in-person BMD voters “have not

            been treated equally in that … [BMD votes] cannot be

            meaningfully recounted, reviewed against an independent record

            to verify, or have discrepancies detected and corrected.” Id. at 40

            (¶ 129);

         • Absentee paper-ballot votes and in-person BMD votes “are

            unequally weighted, with greater weight given to those who vote

            by absentee paper ballot, whose votes can be verified as to voter

            intent, can be accurately recounted, and can have processing
                                       6
       Case 1:17-cv-02989-AT Document 1147 Filed 08/10/21 Page 7 of 10




            errors identified and corrected, while [BMD votes] do not share

            those essential advantages.” Id. at 40–41 (¶ 129);

         • “All voters, including in-person and absentee mail voters, will be

            deprived of the right to participate in a trustworthy and

            verifiable election process that safely, accurately, and reliably

            records and counts all votes cast and that produces a reliable

            election result capable of being verified as true in a recount or

            election contest.” [Doc. 628 at 62–63 (¶ 223)] (Coalition Plaintiffs’

            First Supplemental Complaint); and

         • Voters who use the BMDs “suffer a greater risk of casting a less

            effective vote than other similarly situated voters who vote by

            mail.” Id. at 57 (¶ 203).

Plaintiffs’ claims here, just like the claims in Wood II, are generalized

grievances insufficient to confer standing. Indeed, Plaintiffs do not even

assert that their votes will be burdened or harmed. Quite the opposite:

Plaintiffs argue that their absentee votes will be given greater weight or are

more likely to be effective—only alleging purported “harms” shared

identically by all Georgia voters who vote on the Dominion BMDs.

      State Defendants again urge this Court to address Plaintiffs’ lack of

standing, particularly in light of the Eleventh Circuit’s recent decision in
                                        7
       Case 1:17-cv-02989-AT Document 1147 Filed 08/10/21 Page 8 of 10




Wood II, which reinforces that Plaintiffs’ claims here amount to “nothing

more than a textbook generalized grievance that is insufficient for Article III

standing.” Ex. A. at 6.

      Respectfully submitted, this 10th day of August 2021.

                              /s/ Carey A. Miller
                              Vincent R. Russo
                              Georgia Bar No. 242628
                              vrusso@robbinsfirm.com
                              Josh Belinfante
                              Georgia Bar No. 047399
                              jbelinfante@robbinsfirm.com
                              Carey A. Miller
                              Georgia Bar No. 976240
                              cmiller@robbinsfirm.com
                              Alexander Denton
                              Georgia Bar No. 660632
                              adenton@robbinsfirm.com
                              Javier Pico-Prats
                              Georgia Bar No. 664717
                              Robbins Ross Alloy Belinfante Littlefield LLC
                              500 14th Street, N.W.
                              Atlanta, Georgia 30318
                              Telephone: (678) 701-9381
                              Facsimile: (404) 856-3255

                              Bryan P. Tyson
                              Georgia Bar No. 515411
                              btyson@taylorenglish.com
                              Jonathan D. Crumly
                              Georgia Bar No. 199466
                              jcrumly@taylorenglish.com
                              James A. Balli
                              Georgia Bar No. 035828
                              jballi@taylorenglish.com
                              Diane F. LaRoss
                                       8
Case 1:17-cv-02989-AT Document 1147 Filed 08/10/21 Page 9 of 10




                      Georgia Bar No. 430830
                      dlaross@taylorenglish.com
                      Bryan F. Jacoutot
                      Georgia Bar No. 668272
                      bjacoutot@taylorenglish.com
                      Loree Anne Paradise
                      Georgia Bar No. 382202
                      lparadise@taylorenglish.com
                      TAYLOR ENGLISH DUMA LLP
                      1600 Parkwood Circle, Suite 200
                      Atlanta, GA 30339
                      Telephone: 678-336-7249

                      Counsel for State Defendants




                              9
      Case 1:17-cv-02989-AT Document 1147 Filed 08/10/21 Page 10 of 10




                 LOCAL RULE 7.1(D) CERTIFICATION

     I certify that this State Defendants’ Notice of Supplemental Authority

has been prepared with one of the font and point selections approved by the

Court in Local Rule 5.1. Specifically, this document has been prepared using

13-pt Century Schoolbook font and type.

                                   /s/ Carey A. Miller
                                   Carey A. Miller
